                                        Case 3:19-cv-07125-WHA Document 23 Filed 07/21/20 Page 1 of 1




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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   OUR CHILDREN'S EARTH
                                       FOUNDATION,
                                  11                                                        No. C 19-07125 WHA
                                                      Plaintiff,
                                  12
Northern District of California




                                               v.
 United States District Court




                                  13                                                        ORDER DENYING STIPULATED
                                       ANDREW WHEELER,                                      REQUEST TO CONTINUE CASE
                                  14                                                        MANAGEMENT CONFERENCE
                                                      Defendant.
                                  15

                                  16        The case management conference in this matter, originally scheduled for January 2020,
                                  17   has already been continued three times at the request of the parties, who have stated that they
                                  18   have reached an agreement in principle. No more continuances will be granted. The August 6
                                  19   telephonic case management conference and all related deadlines remain on calendar.
                                  20

                                  21        IT IS SO ORDERED.
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                                  23   Dated: July 21, 2020.
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                                                                                              WILLIAM ALSUP
                                  26                                                          UNITED STATES DISTRICT JUDGE
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